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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001   03 MDL 1570 (GBD)(SN)


This document relates to:
Ashton, et al. v. al Qaeda Islamic Army, et al., No. 1:02-cv-06977 (GBD)(SN)
Roberta Agyeman, et al. v. Islamic Republic of Iran, No. 1:18-cv-05320 (GBD)(SN)
Horace Morris, et al. v. Islamic Republic of Iran, No. 1:18-cv-05321 (GBD)(SN)
Audrey Ades, et al. v. Islamic Republic of Iran, No. 1:18-cv-07306 (GBD)(SN)
Lloyd A. Abel Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-11837 (GBD)(SN)
Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD)(SN)
Maureen Moody-Theinert, et al. v. Islamic Republic of Iran, No. 1:18-cv-11876 (GBD)(SN)
Gordon Aamoth, Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-12276 (GBD)(SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No. 1:18-cv-12277 (GBD)(SN)
Matthew Rowenhorst, et al. v. Islamic Republic of Iran, No. 1:18-cv-12387 (GBD)(SN)
BNY Mellon, et al. v. Islamic Republic of Iran, No. 1:19-cv-11767 (GBD)(SN)
Deborah Bodner, et al. v. Islamic Republic of Iran, No. 1:19-cv-11776 (GBD)(SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD)(SN)
Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD)(SN)
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Paul Asaro, et al. v. Islamic Republic of Iran, No. 1:20-cv-10460 (GBD)(SN)
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Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD)(SN)

 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR PARTIAL
   FINAL JUDGMENT FOR DAMAGES ON BEHALF OF MOVING PLAINTIFFS



                                                     ANDERSON KILL P.C.
                                                     Jerry S. Goldman, Esq.
                                                     Bruce E. Strong, Esq.
                                                     Alexander Greene, Esq.
                                                     1251 Avenue of the Americas
                                                     New York, NY 10020
                                                     Tel:     (212) 278-1000
                                                     Fax:     (212) 278-1733
                                                     Email: jgoldman@andersonkill.com
                                                              bstrong@andersonkill.com
                                                              agreene@andersonkill.com

                                                     Attorneys for Plaintiffs
  Dated: New York, New York
         May 20, 2024




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I.      INTRODUCTION

        For the reasons set forth below, the statements contained in the Declaration of Jerry S.

Goldman, Esq., with exhibits appended thereto and tendered under seal (“Goldman

Declaration”), which is being filed contemporaneously with this memorandum of law, as well as

those set forth in prior motions for liability and damages made on behalf of the O’Neill plaintiffs,

certain plaintiffs in the above-referenced matters who are identified in Exhibit A and Exhibit B, 1

annexed to the Goldman Declaration (the plaintiffs in Exhibit A and Exhibit B are the “Moving

Plaintiffs”) (which are Exhibit B and Exhibit C to the Proposed Order), by and through their

counsel, Anderson Kill P.C., respectfully move this Court for an Order:

                   (1)   awarding the Moving Plaintiffs identified in Exhibit A damages judgments

        against the Islamic Republic of Iran (“Iran”) in the same amounts previously awarded by

        this Court to various similarly situated plaintiffs in Burnett, Havlish, Ashton, Bauer,

        O’Neill, and other cases; AND,

                   (2)   awarding solatium damages to those Moving Plaintiffs identified in

        Exhibit A in the amounts of $12,500,000 per spouse, $8,500,000 per parent, $8,500,000

        per child, and $4,250,000 per sibling, as set forth in annexed Exhibit A; AND,

                   (3)   awarding the estates of the 9/11 decedents, through the personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and



1
  The plaintiffs listed in annexed Exhibit B are personal representatives of 9/11 decedent estates.
They are submitting claims for compensatory damages as a result of the 9/11 decedent’s death.
Those personal representatives who, at this time, are seeking to solely recover compensatory
damages for pain and suffering are specifically reserving their right to seek an additional
judgment, at a future date, for economic damages, based upon then-submitted evidence. As
noted below, each personal representative has provided the undersigned counsel with proof that
he or she has been appointed by the court as the personal representative of the decedent.
Goldman Declaration at ¶¶ 5-15, 21-29.


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        family member of such 9/11 decedents, as set forth in Exhibit B, compensatory damages

        for pain and suffering in the same per estate amount previously awarded by this Court

        regarding other estates of decedents killed in the September 11 th attacks, as set forth in

        Exhibit B; AND,

                   (4)   awarding compensatory damages to certain Moving Plaintiffs identified in

        Exhibit B for decedents’ pain and suffering in an amount of $2,000,000 per estate, as set

        forth in annexed Exhibit B; AND,

                   (5)   awarding the estates of the 9/11 decedents, through their personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family members of such 9/11 decedent, as identified in Exhibit B, an award of economic

        damages in the amounts set forth in Exhibit B; AND,

                   (6)   awarding the Moving Plaintiffs identified in Exhibit A and Exhibit B

        prejudgment interest at the rate of 4.96 percent per annum, compounded annually for the

        period from September 11, 2001 until the date of the damages judgment; AND,

                   (7)   granting the Moving Plaintiffs identified in Exhibit A and Exhibit B

        permission to seek punitive damages, economic damages, and other appropriate damages,

        at a later date, to the extent such awards have not previously been addressed; AND,

                   (8)   granting permission for all other Plaintiffs in these actions not appearing

        in Exhibit A and Exhibit B to submit applications for damages awards in later stages, to

        the extent such awards have not previously been addressed; AND,

                   (9)   granting to the Moving Plaintiffs in Exhibit A and Exhibit B such other

        and further relief as this Honorable Court deems just and proper.




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II.      PRELIMINARY STATEMENT

         A.        Orders

         This motion is being submitted in accordance with various procedural orders entered by

this Court, and the form of this motion and the relief requested herein are intended to comply

with various orders of this Court, including the following:

                   a.   The Court’s January 24, 2017 Order, ECF No. 3435,2 requiring that “[a]ll
                        further motions for final judgment against any defaulting defendant shall
                        be accompanied by a sworn declaration attesting that the attorney has (1)
                        complied with the due diligence safeguards [referenced in Section II.D. of
                        the January 23, 2017 letter from the Plaintiffs’ Executive Committee (ECF
                        No. 3433)] and (2) personally verified that no relief has previously been
                        awarded to any plaintiff included in the judgment (or, if relief has been
                        awarded, the nature of that relief).”

                   b.   The Court’s October 14, 2016 Order, ECF No. 3363, concerning the
                        amounts of solatium damage awards.

                   c.   The Court’s October 14, 2016 Order, ECF No. 3362, related to the cases
                        captioned as Bauer v. Al Qaeda Islamic Army, 02-CV-7236 (GBD)(SN)
                        and Ashton v. al Qaeda Islamic Army, 02-CV-6977 (GBD)(SN).

                   d.   The Court’s October 28, 2019 Order, ECF No. 5234, setting forth updated
                        procedural rules.

                   e.   The Court’s October 28, 2019 Order, ECF No. 5338, setting forth the
                        scheduling order.

                   f.   The Court’s May 5, 2022 Order, ECF No. 7963, setting forth procedures
                        for filing expert reports submitted in support of default judgments.

                   g.   The Court’s September 22, 2023 Order, ECF No. 9355, setting forth
                        procedures for default judgment motions.




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    All ECF numbers are to the MDL docket unless stated otherwise.

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         B.        Related Cases

         Relying on evidence and arguments 3 submitted by plaintiffs in In re Terrorist Attacks on

September 11, 2001, 03-md-1570, the consolidated multidistrict litigation arising out of the

September 11th Attacks, this Court on December 22, 2011, and again on August 31, 2015,

granted Orders of Judgment on Liability in favor of certain of the Havlish, Ashton, O’Neill,

Federal Insurance, and Hoglan groups of plaintiffs against Iran. See, e.g., ECF Nos. 2516, 3014,

3016, 3020-23. Subsequently, other liability findings were made for additional O’Neill

Plaintiffs. After granting the Havlish Order of Default Judgment on Liability, this Court

considered the issue of damages suffered by the Havlish plaintiffs and their decedents. Upon the

submissions of the Havlish plaintiffs, on October 3, 2012, this Court found, among other things,

that “Plaintiffs may recover for [, inter alia,] solatium . . . in an action under Section 1605A. 28

U.S.C. § 1605A(c)(4). In such an action, . . . family members can recover solatium for their

emotional injury; and all plaintiffs can recover punitive damages.” ECF No. 2623 at 2-3, quoting

Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 83 (D.D.C. 2010). This Court also found

that the following solatium awards for family members are appropriate, as an upward departure

from the framework in Est. of Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229 (D.D.C.

2006).


    Relationship of Decedent                          Solatium Award

    Spouse                                            $12,500,000



3
 In each of the Orders of Judgment regarding plaintiffs' claims against Iran in the In re Terrorist
Attacks on September 11, 2001 multidistrict litigation, the Court premised its determination
“[u]pon consideration of the evidence submitted by the Plaintiffs in filings with this Court on
May 19, 2011, July 13, 2011, and August 19, 2011, and the evidence presented at the December
15, 2011, hearing on liability, together with the entire record in this case.” ECF Nos. 2516, 3014,
3016, 3020-22; see also ECF No. 3023 (substantially similar language).

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   Relationship of Decedent                           Solatium Award

   Parent                                             $8,500,000

   Child                                              $8,500,000

   Sibling                                            $4,250,000

ECF No. 2623 at 4.

        The Court has applied the same solatium values to claims of other solatium plaintiffs in

Burnett (ECF Nos. 3666, 4023, 4126, 4146, 4175, 5061, 5062, 5087, 5138, and 5356) and other

solatium plaintiffs in other cases coordinated in the In re Terrorist Attacks on September 11,

2001 multidistrict litigation. See, e.g., ECF Nos. 3175 at 2, 3300 at 1, 3358 at 9, 3363 at 16,

3399, and 3977 at 7.

        In that same decision in Havlish, this Court also found that Plaintiffs are entitled to

punitive damages under the FSIA in an amount of 3.44 multiplied by their compensatory

damages award. ECF No. 2623 at 5. The Court has applied that 3.44 multiplier also to judgments

in Ashton. See ECF No. 3175 at 3 (Report and Recommendation to apply 3.44 punitive

multiplier); see also ECF No. 3229 at 1 (Order adopting in its entirety Report and

Recommendation to apply 3.44 punitive multiplier). The Court applied the 3.44 punitive

multiplier to the compensatory awards previously awarded in Burnett. ECF No. 3666. However,

in Hoglan, another case in this multidistrict litigation, Magistrate Judge Netburn recommended

that the plaintiffs’ request for punitive damages be denied without prejudice. ECF Nos. 3358 at

11-16, 3363 at 28. Judge Daniels adopted Magistrate Judge Netburn’s Report and

Recommendation in its entirety. ECF Nos. 3383 at 2, 3384 at 6.

        In the Havlish decision, this Court also found that prejudgment interest was warranted for

the Plaintiffs’ solatium damages. ECF No. 2623 at 5. The Havlish plaintiffs sought application


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of a 4.96% interest rate, which the magistrate judge recommended (ECF No. 2619 at 13-14) and

Judge Daniels adopted (ECF No. 2623 at 5). In Ashton, plaintiffs sought, and the magistrate

judge recommended, application of a statutory nine percent simple interest rate for prejudgment

interest. ECF No. 3175 at 7-8. Judge Daniels adopted the magistrate judge’s report and

recommendation and applied the nine percent interest rate in multiple instances in Ashton and

Bauer. See ECF Nos. 3229 at 2, 3300 at 1, 3341 at 1. However, in Hoglan, Magistrate Judge

Netburn recommended that the 4.96 percent rate for prejudgment interest should be applied to all

solatium claims, ECF Nos. 3358 at 17-20, 3363 at 28-29. Judge Daniels adopted Magistrate

Judge Netburn’s Hoglan Report and Recommendation in its entirety and applied an interest rate

of 4.96 percent per annum, compounded annually. ECF Nos. 3383 at 2, 3384 at 6. The Court

applied that interest rate, 4.96 percent per annum, to the awards to other plaintiffs in Burnett.

        C.         Moving Plaintiffs – Service and Liability

        As set forth in Exhibit A to the Proposed Order, Moving Plaintiffs herein filed suit and

duly served Iran. The Clerk’s Office, upon Plaintiffs’ applications, issued Clerk’s Certificates of

Default, and liability judgments have been entered in these cases.

III.    Damages – Governing Law

        A.         Background

        Section 1605A of the FSIA permits a foreign state to be held accountable for acts of

terrorism or the provision of material support or resources for acts of terrorism where the acts or

provision of support or resources were engaged in by an official, employee, or agent of the

foreign state while acting within the scope of his or her office, employment, or agency. 28

U.S.C. § 1605A(a)(1). The statute specifies that damages are available “for personal injury or

death,” § 1605A(a)(1) and (c)(4), and include “economic damages, solatium, pain and suffering,

and punitive damages.” § 1605A(c)(4). Courts addressing the damages available under the

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statute have held that, among other damages recoverable, “family members [or the functional

equivalents of such family members] can recover solatium for their emotional injury; and all

plaintiffs can recover punitive damages.” ECF No. 2623 at 2-3 (quoting Valore, 700 F. Supp. 2d

at 83).

          Moving Plaintiffs identified in annexed Exhibit A are immediate family members of

those killed on 9/11, as demonstrated by documentary evidence of their familial relationship to a

9/11 decedent, such as birth or marriage certificates, sworn affidavits, official documents, or

other documents signed under penalty of perjury, which attest to a familial relationship eligible

for recovery, and, in the case of a subsequently deceased family member, a death certificate or

sworn affidavit which reflects that the claimant did not predecease the 9/11 victim. 4 See

Goldman Declaration at ¶¶ 5-15, 19-20.

          Moving Plaintiffs identified in annexed Exhibit B are comprised of the estates of victims

who perished on 9/11, in claims asserted by their personal representatives, as demonstrated by

documentary evidence in the form of official documents from probate and administration

proceedings from Surrogate’s Court, Probate Court, Orphan’s Court, and similar judicial bodies.

See Goldman Declaration at ¶¶ 5-15, 21-29.

          With respect to each estate plaintiff (in both annexed Exhibit A and Exhibit B), the

personal representative has provided the undersigned counsel with proof that he or she has been

appointed by the court as the personal representative of the deceased relative and/or 9/11

decedent estate.




4
 Such evidence is consistent with that contemplated in the Court’s July 10, 2018 Order at ECF
No. 4045.

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        As liability has been established in this matter, each Moving Plaintiff is now entitled to

damages in the amounts set forth in annexed Exhibit A and Exhibit B, which reflect the damage

amounts previously established and applied by this Court in this and other related cases arising

from the terrorists attacks on September 11, 2001 (the “9/11 Attacks”) or based upon expert

economic reports submitted herewith. In accordance with the terms of the FSIA, the Moving

Plaintiffs with liability entered are entitled to compensation under Section 1605A for their

solatium, pain and suffering, and economic damages, as applicable, and are also entitled to

prejudgment interest. Further, certain moving 9/11 decedent estates are now entitled to

compensatory damages for pain and suffering, as set forth in annexed Exhibit B, which are the

same amounts as previously established by the Court in related cases arising from the 9/11

Attacks. Finally, each moving 9/11 decedent estate who has tendered an expert economic report

at this time, as identified herein, in the Goldman Declaration, and in annexed Exhibit B, are

entitled to economic damages.

        B.         Solatium Damages

        As set forth above, the FSIA specifically provides for an award of solatium damages.

Under § 1605A, family members of a decedent may recover for “the mental anguish,

bereavement, and grief that those with a close relationship to the decedent experience as a result

of the decedent’s death, as well as the harm caused by the loss of decedent’s society and

comfort.” Dammarell v. Islamic Republic of Iran, 281 F. Supp. 2d 105, 196 (D.D.C. 2003),

vacated on other grounds, 404 F. Supp. 2d 261 (D.D.C. 2005). Other courts have previously

noted that “[a]cts of terrorism are by their very definition extreme and outrageous and intended

to cause the highest degree of emotional distress.” Belkin v. Islamic Republic of Iran, 667 F.

Supp. 2d 8, 22 (D.D.C. 2009). In cases brought under this exception to the FSIA, solatium

claims have been treated as analogous to claims for the intentional infliction of emotional

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distress. See, e.g., Surette v. Islamic Republic of Iran, 231 F. Supp. 2d 260, 267 n.5 (D.D.C.

2002) (treating solatium claim as “‘indistinguishable’ from the claim of intentional infliction of

emotional distress” (quoting Wagner v. Islamic Republic of Iran, 172 F. Supp. 2d 128, 135 n.11

(D.D.C. 2001))).

        When previously awarding solatium damages in other cases related to the 9/11 Attacks,

such as those noted above, this Court looked at the framework established by District Court

Judge Royce C. Lamberth in Heiser, 466 F. Supp. 2d at 229, where the court awarded solatium

damages to each spouse of a deceased victim in the amount of $8 million, to each parent in the

amount of $5 million, and to each sibling in the amount of $2.5 million. Id. This formula,

however, may be adjusted upward or downward when circumstances warrant. See, e.g., Est. of

Bland v. Islamic Republic of Iran, 831 F. Supp. 2d 150, 156 (D.D.C. 2011); Valore, 700 F. Supp.

2d at 85.

        Analyzing the solatium claims of the families of the Havlish victims who perished in the

9/11 Attacks, Magistrate Judge Maas concluded that an upward departure from Judge

Lamberth’s framework in Heiser was appropriate because the decedents’ immediate family

members suffered, and continue to suffer “profound agony and grief” and “[w]orse yet, …are

faced with frequent reminders of the events of that day.” ECF No. 2618 at 10-12. Judge Maas

noted in his July 30, 2012 Report and Recommendation the “extraordinarily tragic circumstances

surrounding the September 11th attacks, and their indelible impact on the lives of the victims’

families . . .” Id. at 11. In that Report and Recommendation, with which this Court later agreed,

Magistrate Judge Maas recommended that solatium damages be awarded to the immediate

family members of the victims of the 9/11 Attacks in the following amounts:




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         Relationship of Decedent                      Solatium Award

         Spouse                                        $12,500,000

         Parent                                        $8,500,000

         Child                                         $8,500,000

         Sibling                                       $4,250,000

Id. at 11.

        These exact amounts were adopted by this Court in its October 3, 2012 Order, ECF No.

2623, and were replicated in this Court’s June 16, 2016 Order relating to the claims of certain of

the Ashton Plaintiffs, ECF No. 3300, in the September 12, 2016 Order pertaining to plaintiffs in

Bauer, ECF No. 3341, in the October 14, 2016 Report and Recommendation, ECF No. 3363, and

in the October 31, 2016 Order in Hoglan, ECF No. 3384. These amounts were, again, adopted

by this Court in its April 24, 2018 Order relating to the claims of additional Ashton plaintiffs,

ECF No. 3977 at 6–7. The same amounts were recently adopted in the Court’s June 8, 2018

(Corrected) Order of Partial Final Default Judgment in the matter known as “Burnett/Iran II,”

No. 15-cv-09903, ECF No. 101.5

        The solatium losses suffered by the Exhibit A Moving Plaintiffs are legally and factually

comparable to those suffered by the plaintiffs in Havlish, Ashton, Bauer, Hoglan, O’Neill, and

Burnett. As such, Moving Plaintiffs identified in annexed Exhibit A respectfully request that the

Court grant awards of solatium to the immediate family members identified in annexed Exhibit

A in the same amounts indicated herein, consistent with this Court’s application of those values




5
 The same values were applied to the claims of other plaintiffs in the earlier Burnett case in this
Court’s July 31, 2017 Order, ECF No. 3666, are in other filings of the Burnett, Ashton, and
O’Neill plaintiffs.

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established and applied in Havlish, and subsequently adopted and applied to plaintiffs in the

Ashton, Bauer, Hoglan, O’Neill, and Burnett cases.

        C.         Pain and Suffering Damages For Estates

        As noted above, the Moving Plaintiffs identified in annexed Exhibit B include the

personal representatives of the estates of individuals who were killed in the 9/11 Attacks, some 6

of which seek compensatory damages for the decedent’s pain and suffering. This Court

previously assessed the entitlement and value of pain and suffering awards to estates for their

decedents’ deaths in this litigation. ECF No. 2618 at 7-9.

        For the reasons articulated by this Court previously, the above stated estates, as set forth

in annexed Exhibit B, respectfully request that the Court grant awards for the decedent’s pain

and suffering in the amount of Two Million Dollars ($2,000,000) per estate. See id. at 9; ECF

No. 2624 at 1, 3-4 (Judge Daniels awarding $2,000,000 per estate). See Goldman Declaration at

¶ 21.

        D.         Economic Damages For Estates

        The FSIA specifically provides for economic damages. See 28 U.S.C. § 1605A(c). The

economic damages provision is “designed to compensate [a] decedent’s heirs-at-law for

economic losses which result from [the] decedent’s premature death.” Flatow v. Islamic Republic

of Iran, 999 F. Supp. 1, 27 (D.D.C. 1998). Accordingly, “the beneficiaries of each decedent’s

estate [are]…entitled to recover the present value of economic damages, including lost wages

that the decedents might reasonably have been expected to earn but for their wrongful deaths.”

Valore, 700 F. Supp. 2d at 81-82 (D.D.C. 2010), citing Heiser, 466 F.Supp.2d at 229. Thus, for


6
 Some estates in Exhibit B only seek pain and suffering damages, some estates only seek
economic damages (as they were previously awarded only pain and suffering damages), and
other estates seek both pain and suffering damages and economic damages.

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example, United States District Court Judge Royce C. Lamberth, in a series of decisions issuing

final judgments Iran under the FSIA, has held Iran “liable for the economic damages caused to

decedents’ estates.” Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 399-400 (D.D.C.

2015), quoting Valore, 700 F.Supp.2d at 78.7

        Previously, this Court awarded economic damages in prior Iran cases for the “economic

losses stemming from the wrongful death of the decedent[.]” See ECF No. 2623 at 2-3. In doing

so, it adopted the economic loss calculations set forth in the plaintiffs’ economic expert reports.

        Certain of the estates set forth in annexed Exhibit B and as specifically identified and set

forth therein,8 and which provided economic expert reports, transmitted to the Court in the

Goldman Declaration, seek economic damages, similar to the plaintiffs in the prior Iran cases in

this Court under the standards set in the District of Columbia cases cited herein. Goldman

Declaration at ¶¶ 21-29.

        As described at length in the Goldman Declaration, in these cases, plaintiffs retained the

services of an expert, John F. Beauzile, who possesses a Master’s Degree in Actuarial Science

from Columbia University (“Expert”), to evaluate the economic losses resulting from decedent’s

death as a result of the 9/11 Attacks. Goldman Declaration at ¶¶ 25-29.

        As described in more detail in the Goldman Declaration, and the Expert’s Declaration

(which is Exhibit C to the Goldman Declaration), we obtained, generally through a Freedom of


7
 In adopting this estate-accumulations calculation, Judge Lamberth recognized that case law
under the FSIA was “develop[ing]…a federal standard” and looked to the law of the District of
Columbia, which it concluded was “an appropriate model” to adopt and which calculated
economic damages as the loss of accretions to the decedent’s estate. Valore, 700 F.Supp. 2d at
82.
8
 To the extent other estates are referenced in annexed Exhibit A, these are estates of family
members of 9/11 decedents who themselves have passed away in the years following the
September 11th attacks, as opposed to the estates of the 9/11 decedents who are listed in annexed
Exhibit B.

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Information Act (“FOIA”) request, entire September 11th Victim Compensation Fund (“VCF”)

files for a substantial number of the O’Neill plaintiffs.9 Those files, along with other materials

provided by the clients, contained various economic expert reports, VCF applications, VCF work

papers and distribution plans, VCF determinations, underlying economic documents, and the

like. Using methodology and assumptions described in his declaration, relying on earlier expert

reports, determinations by the VCF, and other documents, the Expert prepared up-to-date

economic loss expert reports, copies of which are deemed appended to the Expert’s Declaration

(Exhibit C) and being filed on ECF with access restricted to the Court pursuant to the Court’s

May 5, 2022 Order, ECF No. 7963, setting forth procedures for filing expert reports (“Expert

Reports”) in support of default judgments.

        Based on the foregoing, the Moving Plaintiffs respectfully ask that this Court award

economic damages to the estates set forth in annexed Exhibit B in the amounts stated therein, as

supported by the Expert Reports.

        E.         Punitive Damages

        Moving Plaintiffs are also entitled to punitive damages under the FSIA. 28 U.S.C.

§ 1605A(c)(4). In the Havlish Report and Recommendation on damages, the magistrate judge

explained that a “3.44 ratio ‘has been established as the standard ratio applicable to cases arising

out of’ terrorist attacks.” ECF No. 2618 at 13 (quoting Est. of Bland v. Islamic Republic of Iran,

831 F. Supp. 2d 150, 158 (D.D.C. 2011)). This Court adopted that recommendation and awarded

punitive damages on each compensatory damages category at a ratio of 3.44 (punitive) to 1

(compensatory). ECF No. 2623 at 2. The Court has applied that ratio to awards for plaintiffs in



9
 We are still awaiting receipt of additional files which has adversely become impacted by both
“normal” delays in receiving responses to FOIA requests and COVID.

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other related cases. See, e.g., ECF No. 3175 at 3 (Magistrate Judge Maas Report and

Recommendation to apply a 3.44 punitive multiplier); ECF No. 3229 at 1 (Judge Daniels

adopting in its entirety Judge Maas’s Report and Recommendation to apply a 3.44 multiplier);

ECF No. 3300 at 1 and Exhibit A (Judge Daniels applying 3.44 punitive multiplier to claims in

Ashton).

        However, in Hoglan, another case in the In re Terrorist Attacks on September 11, 2001

multidistrict litigation, Magistrate Judge Netburn recommended that the plaintiffs’ request for

punitive damages be denied without prejudice. ECF No. 3363 at 28. Judge Daniels adopted

Magistrate Judge Netburn’s Report in its entirety, denying without prejudice the plaintiffs’

request for punitive damages. ECF No. 3384 at 6.

        In light of the Court’s decision in related litigation to defer determination of punitive

damage issues until a later stage of the litigation, Moving Plaintiffs herein request permission to

address the issue of punitive damages at a later date. See, e.g., ECF No. 3666 (Judge Daniels’

Order in Burnett authorizing plaintiffs to make an application for punitive damages at a later date

consistent with any future rulings of the Court).

        F.         Prejudgment Interest

        An award of prejudgment interest is within the sound discretion of a trial court and is

warranted when plaintiffs are delayed in recovering compensation for non-economic injuries

caused by acts of terrorism. See Baker v. Socialist People’s Libyan Arab Jamahirya, 775 F.

Supp. 2d 48, 86 (D.D.C. 2011). This Court awarded the Havlish plaintiffs prejudgment interest

at a rate of 4.96% on their pain and suffering damages awards, to be calculated from

September 11, 2001, until the date of judgment. ECF No. 2618 at 13-14. This Court, recognizing

that prejudgment interest was appropriate in cases such as these cases, adopted the magistrate



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judge’s reasoning, finding that an award of prejudgment interest was appropriate and accepting

the rate of 4.96%, as proposed by the Havlish plaintiffs’ expert.

        After the Havlish award, plaintiffs in Ashton and Bauer proposed, and the Court agreed,

that prejudgment simple interest at the New York State statutory rate of nine percent per annum

was appropriate in cases where the injuries arose in New York and the prejudgment interest used

in Havlish, 4.96 percent per annum, compounded annually, should be reserved for only those

cases where the injuries arose in other states. See ECF Nos. 3229 at 2, 3300 at 1, 3341 at 1.

        The Second Circuit has held that New York State’s statutory prejudgment interest rate

should apply to the damages awarded to World Trade Center complex leaseholders in their

litigation against American Airlines and United Airlines brought under the federal Air

Transportation Safety and System Stabilization Act (“ATSSSA”). Pub. L. No. 107-42, 115 Stat.

230 (2001) (codified as amended at 49 U.S.C. § 40101); In re Sept. 11 Litig., 802 F.3d 314, 343

(2d Cir. 2015). In that case, the Second Circuit concluded that a federal cause of action under

the ATSSSA must look to state rules concerning prejudgment interest. Id. Accordingly, the

Second Circuit held that New York’s statutory prejudgment interest rate of nine percent as

opposed to a lower rate crafted under federal law, had to be applied to the plaintiffs’ claims

related to the 9/11 Attacks. Id.

        However, more recently, in Hoglan, Magistrate Judge Netburn recommended that the

4.96 percent interest rate for prejudgment interest should be applied to all of the solatium claims.

ECF No. 3363 at 28-29. Judge Daniels adopted Magistrate Judge Netburn’s Hoglan Report in its

entirety and applied the interest rate of 4.96 percent per annum, compounded annually to all of

the claims. ECF No. 3384 at 6. Thereafter, in Burnett/Iran II, the Court again awarded

prejudgment interest of 4.96 per annum, compounded annually.



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        In light of the Court’s decisions in Hoglan and Burnett, applying the 4.96 percent rate to

prejudgment interest, the Moving Plaintiffs respectfully request that the clerk be directed to

award prejudgment interest at the rate of 4.96 percent per annum, compounded annually, running

from September 11, 2001, until the date of the judgment.

IV.     Conclusion

        For all of the reasons herein, the Goldman Declaration, in the papers previously

submitted to this Court in support of damages against Iran in this MDL, and as previously

decided by this Court, the Moving Plaintiffs respectfully request that this Honorable Court enter

an Order:

                   (1)   awarding the Moving Plaintiffs identified in annexed Exhibit A damages

        judgments in the same amounts previously awarded by this Court to various similarly

        situated plaintiffs in Burnett, Havlish, Ashton, Bauer, O’Neill, and other cases; AND,

                   (2)   awarding solatium damages to those Moving Plaintiffs identified in

        annexed Exhibit A in the amounts of $12,500,000 per spouse, $8,500,000 per parent,

        $8,500,000 per child, and $4,250,000 per sibling, as set forth in annexed Exhibit A;

        AND,

                   (3)   awarding certain of the estates of the 9/11 decedents, through the personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family member of such 9/11 decedents, as set forth in annexed Exhibit B, compensatory

        damages for pain and suffering in the same per estate amount previously awarded by this

        Court regarding other estates of decedents killed in the 9/11 Attacks, as set forth in

        annexed Exhibit B; AND,




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                   (4)   awarding compensatory damages to those Moving Plaintiffs identified in

        annexed Exhibit B for decedents’ pain and suffering in an amount of $2,000,000 per

        estate, as set forth in annexed Exhibit B; AND,

                   (5)   awarding the estates of the 9/11 decedents, through their personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family members of such 9/11 decedent, as identified in annexed Exhibit B, awards of

        economic damages in the amounts set forth in annexed Exhibit B; AND,

                   (6)   awarding the Moving Plaintiffs pre-judgment interest at the rate of 4.96

        percent per annum, compounded annually for the period from September 11, 2001 until

        the date of the damages judgment; AND,

                   (7)   granting the Moving Plaintiffs permission to seek punitive damages,

        economic damages, and other appropriate damages, at a later date, to the extent such

        awards have not previously been addressed; AND,

                   (8)   granting permission for all other Plaintiffs in these actions not appearing

        in annexed Exhibit A and Exhibit B to submit applications for damages awards in later

        stages, to the extent such awards have not previously been addressed; AND,

                   (9)   granting to the Moving Plaintiffs such other and further relief as this

        Honorable Court deems just and proper.




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 Dated:     New York, New York       Respectfully submitted,
            May 20, 2024
                                     /s/ Jerry S. Goldman
                                     ANDERSON KILL P.C.
                                     Jerry S. Goldman, Esq.
                                     Bruce E. Strong, Esq.
                                     Alexander Greene, Esq.
                                     1251 Avenue of the Americas
                                     New York, NY 10020
                                     Tel: (212) 279-1000
                                     Fax: (212) 278-1733
                                     Email: jgoldman@andersonkill.com
                                              bstrong@andersonkill.com
                                              agreene@andersonkill.com

                                     Attorneys for Plaintiffs




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